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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-481V
                                          UNPUBLISHED


    MICHAEL B. JORDAN,                                          Chief Special Master Corcoran

                         Petitioner,                            Filed: November 24, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Guillain-
                                                                Barre Syndrome (GBS)
                         Respondent.


David Alexander Tierney, Rawls Law Group, Richmond, VA, for petitioner.

Christine Mary Becer, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

       On April 1, 2019, Michael B. Jordan filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barre Syndrome (“GBS”) as a
result of an influenza (“flu”) vaccine administered on August 14, 2017. Petition at 1. The
case was assigned to the Special Processing Unit of the Office of Special Masters.

       On June 3, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for his GBS injury. On November 24, 2020, Respondent filed a proffer on
award of compensation (“Proffer”) indicating Petitioner should be awarded $135,000.00.
Proffer at 2. In the Proffer, Respondent represented that Petitioner agrees with the
proffered award. Id. at 1-2. Based on the record as a whole, I find that Petitioner is entitled
to an award as stated in the Proffer.

1  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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     Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $135,000.00 in the form of a check payable to Petitioner. This
amount represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                     )
MICHAEL B. JORDAN,                   )
                                     )
            Petitioner,              )
                                    )   No. 19-481V
      v.                            )   Chief Special Master Corcoran
                                    )   ECF
SECRETARY OF HEALTH AND             )
HUMAN SERVICES,                     )
                                    )
            Respondent.             )
____________________________________)

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Procedural History

       On May 21, 2020, respondent filed a Vaccine Rule 4(c) report concluding that petitioner

sustained the onset of Guillain-Barré Syndrome within the Table time period following an

influenza vaccine, and therefore sustained an injury that is compensable under the terms of the

National Childhood Vaccine Injury Act of 1986, as amended, 42 U.S.C. §§300aa-10 to -

34. Accordingly, on June 3, 2020, the Chief Special Master issued a Ruling on Entitlement,

finding that petitioner was entitled to vaccine compensation for GBS following the influenza

vaccine he received on August 14, 2017.

II.    Items of Compensation

       Respondent proffers that petitioner should be awarded $135,000.00 for pain and

suffering.

       This represents all elements of compensation to which petitioner is entitled under 42

U.S.C. § 300aa-15(a). Petitioner agrees.
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III.   Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 1: a lump sum payment of $135,000.00, in the form of

a check payable to petitioner.

IV.    Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Michael B. Jordan:                            $135,000.00

                                                      Respectfully submitted,

                                                      JEFFREY BOSSERT CLARK
                                                      Acting Assistant Attorney General

                                                      C. SALVATORE D’ALESSIO
                                                      Acting Director
                                                      Torts Branch, Civil Division

                                                      CATHARINE E. REEVES
                                                      Deputy Director
                                                      Torts Branch, Civil Division

                                                      GABRIELLE M. FIELDING
                                                      Assistant Director
                                                      Torts Branch, Civil Division

                                                      s/Christine Mary Becer
                                                      CHRISTINE MARY BECER
                                                      Trial Attorney
                                                      Torts Branch, Civil Division
                                                      U.S. Department of Justice
                                                      P.O. Box 146
                                                      Benjamin Franklin Station
                                                      Washington, D.C. 20044-0146
                                                      Tel: (202) 616-3665
       DATED: November 24, 2020
1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future pain and
suffering.
                                                 2
